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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                     Plaintiff,                )                 8:13CR313
                                               )
       vs.                                     )                   ORDER
                                               )
BOBBY GRIFFIN,                                 )
                                               )
                     Defendant.                )

       This matter is before the court on the motion of defendant Bobby Griffin (Griffin) to
modify the conditions of his release (Filing No. 87). Griffin seeks to modify the conditions of
his release by allowing him to leave Bristol Station and reside in Oshkosh, Nebraska,
pending his sentencing. Previously, the court had allowed Griffin to return to Oshkosh;
however, Griffin violated the conditions of release and had to be placed at Bristol Station.
The court does not believe Griffin should be permitted another chance at compliance
pending his sentencing on July 14, 2014. The motion to modify conditions of release is
denied.


       IT IS SO ORDERED.


       DATED this 30th day of April, 2014.


                                                   BY THE COURT:


                                                   s/ Thomas D. Thalken
                                                   United States Magistrate Judge
